      USCA11 Case: 22-11232             Document: 55         Date Filed: 03/01/2023         Page: 1 of 2



                                                                                            Martha A. Geer
                                                                                      900 W. Morgan Street
                                                                                         Raleigh, NC 27603
                                                                                       mgeer@milberg.com


                                                March 1, 2023


   FILED AND SERVED VIA CM/ECF

   David J. Smith
   Clerk of Court
   United States Court of Appeals for the Eleventh Circuit
   56 Forsyth Street, N.W.
   Atlanta, Georgia 30303

           Re:      Frank v. Williams, No. 22-11232-AA
                    Plaintiffs’ Rule 28(j) Letter

   Dear Mr. Smith:

          The panel in this case entered an Order advising Counsel to be prepared to address two
   questions at oral argument. Plaintiffs submit the following supplemental authority relating to those
   questions and one additional issue.

           Fox v. Ritz-Carlton Hotel Co., L.L.C., 977 F.3d 1039 (11th Cir. 2020) addresses the Court’s
   first question regarding the class representatives’ standing to assert claims relating to Neuriva De-
   Stress when none of them purchased that product. In Fox, 977 F.3d at 1047, this Court held that
   the plaintiff had Article III standing to represent class members who suffered the same economic
   injury as the plaintiff at 46 restaurants the plaintiff did not visit. See also In re Zantac (Ranitidine)
   Prod. Liab. Litigation, 2022 WL 16729170, at *5-6 (11th Cir. Nov. 7, 2022) (holding that question
   whether injured plaintiff was appropriate class representative for individuals whose claims for the
   same injury arose under the laws of other states was “a question falling under Rules 12(b)(6) or
   23” rather than Article III standing); In re Takata Airbag Prod. Liab. Litig., 2022 WL 2297264, at
   *2 (S.D. Fla. June 24, 2022) (finding standing under Fox even though class members purchased
   different vehicle models than class representatives). Plaintiffs in this case alleged that De-Stress
   purchasers suffered the same economic injury from the same conduct as Plaintiffs did and,
   therefore, Plaintiffs have standing to represent De-Stress purchasers. Frank Appendix Tab. 51 ¶¶
   46-52.

          Hyland v. Navient Corp., 48 F.4th 110 (2d Cir. 2022), is relevant to the Court’s second
   question regarding Plaintiffs’ standing to seek the injunctive relief included in the settlement. The
   Second Circuit rejected an objection to a settlement’s cy pres provision in a Rule 23(b)(2) case
   because it “was not a court-fashioned remedy” but “was instead a provision of a settlement reached
   by private parties[.]” Id. at 119 n.2.

Affiliates/Locations | California | Georgia | Kentucky | Mississippi | New Jersey | New York | North Carolina |
                            Puerto Rico | South Carolina | Tennessee | Washington |
                                     Netherlands | Portugal | United Kingdom
                                           www.milberg.com
  USCA11 Case: 22-11232           Document: 55       Date Filed: 03/01/2023       Page: 2 of 2
David J. Smith
March 1, 2023
Page 2




       Lastly, as for Mr. Frank’s objection to the reversion of funds to the Defendant, Plaintiffs
cite Benitez v. FGO Delivers, LLC, No. 8:21-CV-0221-KKM-TGW, 2022 WL 486127, at *3
(M.D. Fla. Feb. 17, 2022) (striking cy pres provision from settlement and ordering that unclaimed
funds revert to defendant).

                                                    Respectfully submitted,




                                                    Martha A. Geer
                                                    Counsel for Plaintiffs

cc:    Theodore H. Frank
       John M. Andren
       David T. Biderman
       Charles C. Sipos
